

People v Dibble (2019 NY Slip Op 07167)





People v Dibble


2019 NY Slip Op 07167


Decided on October 4, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 4, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, AND TROUTMAN, JJ.


817 KA 17-00460

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJEFFREY J. DIBBLE, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






LINDA M. CAMPBELL, SYRACUSE, FOR DEFENDANT-APPELLANT. 
JAMES B. RITTS, DISTRICT ATTORNEY, CANANDAIGUA (JEFFERY FRIESEN OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Ontario County Court (Frederick G. Reed, A.J.), rendered February 11, 2015. The judgment convicted defendant, upon his plea of guilty, of criminal possession of a forged instrument in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Dibble ([appeal No. 1] — AD3d — [Oct. 4, 2019] [4th Dept 2019]).
Entered: October 4, 2019
Mark W. Bennett
Clerk of the Court








